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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



 JONAS SEBASTIAN JÖDICKE,

         Plaintiff,                                            Case No.: 1:24-cv-00360

 v.                                                            Judge Matthew F. Kennelly

 THE PARTNERSHIPS AND UNINCORPORATED                           Magistrate Judge M. David Weisman
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.



                              SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on February 24, 2024 [30] in favor

of Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this judgment

and hereby fully and completely satisfy the same as to the following Defendants:

               NO.                               DEFENDANT
                52                                  Fivedays
               120                                 Sinzelimin
               141                                   Blussk
               151                            XHMC-Supply Company®


        THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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DATED: July 22
            _, 2024                                Respectfully submitted,



                                                   Keith A. Vogt, Esq. (Bar No. 6207971)
                                                   Keith Vogt, Ltd.
                                                   33 West Jackson Boulevard, #2W
                                                   Chicago, Illinois 60604
                                                   Telephone: 312-971-6752
                                                   E-mail: keith@vogtip.com

                                                   ATTORNEY FOR PLAINTIFF(S)




Subscribed and sworn before me by Keith A. Vogt, on this _of
                                                         22 July, 2024.

Given under by hand and notarial seal.




                                            STATE OF __      !_I_/
                                                      I ......       __
                                                                     V\...-V 1_'_j---­


                                                             (!yp K
                                            COUNTY OF --=-----------


                                                             GRISELDA DELGADO
                                                               OFFICIAL SEAL
                                                • N.otary Public, State of Illinois
                                                            My Commission Expires
                                                               October 05, 2026
